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 4
     Attorney for Defendant
 5
     DUWAYNE LEDOUX
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                        )       No. CR-S-11-339 WBS
 9
                                                      )
                                                      )
10          Plaintiff,                                )       STIPULATION AND
                                                      )       [PROPOSED ORDER] CONTINUING
11
     v.                                               )       STATUS CONFERENCE
                                                      )
12
     DUWAYNE LEDOUX et al.,                           )       Date: January 9, 2012
                                                      )       Time: 9:30 a.m.
13
                                                      )       Judge: Honorable William B. Shubb
            Defendants.                               )
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                                                      )
                                                      )
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                                                      )
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17          IT IS HEREBY stipulated between the United States of America through its undersigned

18   counsel, Jason Hitt, Assistant United States Attorney, together with counsel for defendant

19   Duwayne Ledoux, John R. Manning, Esq., and counsel for defendant Jennifer MacDougal, Lexi

20   Negin, Esq., that the status conference presently set for November 7, 2011 be continued to

21   January 9, 2012, at 9:30 a.m., thus vacating the presently set status conference.

22          Defense counsel requires additional time to review the discovery and perform

23   investigation. Therefore, counsel for the parties stipulate and agree that the interests of justice

24   served by granting this continuance outweigh the best interests of the defendants and the public

25   in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of counsel/ reasonable time for effective

26   preparation) and Local Code T4, and agree to exclude time from the date of the filing of the

27   order until the date of the status conference, January 9, 2012.

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 1   IT IS SO STIPULATED.
 2

 3   Dated: November 2, 2011                          /s/ John R. Manning
                                                     JOHN R. MANNING
 4                                                   Attorney for Defendant
                                                     Duwayne Ledoux
 5

 6   Dated: November 2, 2011                          /s/ Lexi Negin
                                                     LEXI NEGIN
 7                                                   Attorney for Defendant
 8
                                                     Jennifer MacDougal

 9
     Dated: November 2, 2011                         Benjamin B. Wagner
10                                                   United States Attorney
11
                                               by:   /s/ Jason Hitt
12                                                   JASON HITT
                                                     Assistant U.S. Attorney
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               Case 2:11-cr-00339-TLN Document 28 Filed 11/08/11 Page 3 of 4



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 7
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                       ) No. CR-S-11-0339 WBS
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                                                     )
                                                     )
11          Plaintiff,                               ) ORDER TO
                                                     ) CONTINUE STATUS CONFERNCE
12
     v.                                              )
     DUWAYNE LEDOUX, et al.,                         )
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                                                     )
                                                     )
14          Defendants.                              )
                                                     )
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                                                     )
                                                     )
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                                                     )
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            Based on the stipulation of the parties and good cause appearing therefrom, the Court

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     hereby finds that the failure to grant a continuance in this case would deny defense counsel

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     reasonable time necessary for effective preparation, taking into account the exercise of due

22
     diligence. The Court specifically finds that the ends of justice served by the granting of such

23
     continuance outweigh the interests of the public and the defendant in a speedy trial. Based on

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     these findings and pursuant to the stipulation of the parties, the Court hereby adopts the

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     stipulation of the parties in its entirety as its order. Time is excluded from computation of time

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     within which the trial of this matter must be commenced beginning from the date of the

27
     stipulation, November 2, 2011, through and including January 9, 2012, pursuant to 18 U.S.C. §

28
     ///



                                                      3
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 1   3161(h)(7)(A) and (B)(iv) [reasonable time for defense counsel to prepare] and Local Code
 2   T4. A new status conference date is hereby set from the date of this order to January 9, 2012 at
 3   9:30 a.m.
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 5   IT IS SO ORDERED.
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     Dated: November 7, 2011
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